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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



ANTHONY DAUNT,

               Plaintiff,
                                                             CASE NO. 1:20-CV-522
v.
                                                             HON. ROBERT J. JONKER
JOCELYN BENSON, et al.,

            Defendants.
_____________________________/

                                             ORDER

         The original motion to dismiss was mooted by the timely filing of a First Amended

Complaint on September 30, 2020. Accordingly, that motion (ECF No. 21) is dismissed as

moot. If the original or intervening defendants believe there are still jurisdictional or other Rule

12 reasons for dismissal of the First Amended Complaint, they may raise them in a new motion

addressed to the current complaint.




Dated:     October 7, 2020                     /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
